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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   CASE NO. CR S-09-074 JAM
                                            )
12                       Plaintiff,         )   STIPULATION AND PROTECTIVE
                                            )   ORDER RE: DISSEMINATION OF
13   v.                                     )   DISCOVERY DOCUMENTS CONTAINING
                                            )   NAMES AND PERSONAL IDENTIFYING
14   DUANE ALLEN EDDINGS,                   )   INFORMATION
                                            )
15                       Defendant.         )
                                            )
16                                          )
                                            )
17
18           Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties
19   stipulate and agree, and respectfully request that the Court order
20   that:
21           1.   All discovery provided from the government from this date
22                forward to the defense attorney shall be subject to this
23                protective order.
24           2.   Certain of the documents contained in the government’s
25                discovery production contain names and personal identifying
26                information of individuals (hereinafter, the “Protected
27                Material”).   Such personal identifying information may
28                include, but is not limited to, names, addresses, telephone

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 1               numbers, driver’s license numbers, social security numbers
 2               and financial account numbers.       Any pages of discovery that
 3               contain no personal identifying information are not subject
 4               to this order.
 5         3.    The Protected Material is now and will forever remain the
 6               property of the United States.       The Protected Material is
 7               entrusted to defense counsel only for purposes of
 8               representation in this case.
 9         4.    Counsel shall not give Protected Material or any copy of
10               Protected Material to any person other than counsel’s
11               staff, investigator, or retained expert(s).          The terms
12               “staff,” “investigator,” and “expert” shall not be
13               construed to describe any defendant or other person not
14               either regularly employed by counsel or a licensed
15               investigator or expert hired in this case.
16         5.    Any person receiving Protected Material or a copy of
17               Protected Material from counsel shall be bound by the same
18               obligations as counsel and further may not give the
19               Protected Material to anyone (except that the Protected
20               Material shall be returned to counsel).
21         6.    The defendants in this case may review the Protected
22               Material and be aware of its contents, but shall not be
23               given control of the Protected Material or any copies
24               thereof.    Notwithstanding the foregoing, counsel are
25               permitted to provide each defendant with copies of
26               documents otherwise classifiable as Protected Material so
27               long as counsel completely redact all personal identifying
28   ///

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 1             information from those documents prior to providing them to
 2             a defendant.
 3        7.   The foregoing notwithstanding, after the Trial Confirmation
 4             Hearing in this case, counsel, staff, and investigator may
 5             make copies of the Protected Material for trial preparation
 6             and presentation.      Any copies must, however, remain in the
 7             possession of counsel, staff, investigator, expert or the
 8             Court.
 9                                     Respectfully Submitted,
10                                     BENJAMIN B. WAGNER
                                       United States Attorney
11
12
     DATE: November 30, 2010    By:     /s/ Matthew Stegman
13                                     MATTHEW STEGMAN
                                       Assistant U.S. Attorney
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15
16   DATE: November 30, 2010            /s/ Joseph J. Wiseman
                                       JOSEPH J. WISEMAN
17                                     Attorney for DUANE ALLEN EDDINGS
18
19        IT IS SO ORDERED:
20   DATED: December 2, 2010.
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